      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.1 Page 1 of 8



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


GUADALUPE BETANCOURT, Individually,      :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :            Case No. 1:12-cv-638
                                         :
GDP BEELINE, LLC                         :
A Domestic Limited Liability Company     :
                                         :
             Defendant.                  :
_______________________________________/ :

                                         COMPLAINT


        Plaintiff, Guadalupe Betancourt (hereinafter “Plaintiff”), hereby sues the Defendant, GDP

Beeline, LLC., a Domestic Limited Liability Company (hereinafter “Defendant”), for Injunctive

Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. §12181 et seq. (“ADA”), and for damages pursuant to the Michigan

Persons With Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq. In support thereof,

Plaintiff states:

1.      This action is brought by Guadalupe Betancourt, and all persons similarly situated,

pursuant to the enforcement provision of the Americans With Disabilities Act of 1990 (“ADA”),

42 U.S.C. 12188(a) and the Michigan Persons with Disabilities Civil Rights Act (“PDCRA”),

MCL 37.1101 et. seq., against the owners and/or operators of Felch Street Plaza.

2.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and 28 U.S.C.

§1343, which governs actions that arise from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq. See also 28 U.S.C. §2201 and §2202.
      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.2 Page 2 of 8



3.     This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367(a) over Plaintiff’s

State claim as violations of the PDCRA arise from the same facts and circumstances that give

rise to Plaintiff’s ADA claim.

4.     Venue is proper in this judicial district and division. Defendant does business in the State

of Michigan, and all of the acts of discrimination alleged herein occurred in this judicial district

and division.

5.     Plaintiff Guadalupe Betancourt is a resident of Cowley County, Kansas, uses a

wheelchair, and is an individual with a disability within the meaning of ADA, 42 U.S.C.

12102(2), 28 C.F.R. 36.104, and MCL 31.1103.

6.     Plaintiff Guadalupe Betancourt is a former resident of Holland, Michigan and frequently

returns to the area to see her family.

7.     Plaintiff Guadalupe Betancourt is substantially limited in performing one or more major

life activities, including but not limited to, walking and standing.

8.     Plaintiff Guadalupe Betancourt, on several occasions, has been to the Felch Street Plaza,

located at 3050 Beeline Road, Holland, Ottawa County, 49424.

9.     The Felch Street Plaza is a place of public accommodation within the meaning of Title III

of the ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104, and MCL 37.1301.

10.    Defendant owns, leases, leases to, or operates the Felch Street Plaza, and is responsible

for complying with the obligations of the ADA and the PDCRA.




                                                  2
       Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.3 Page 3 of 8



                                                COUNT I

                                     VIOLATION OF THE ADA

11.     Plaintiff realleges paragraphs one (1) through ten (10) of this Complaint and incorporates

them here as if set forth in full.

12.     Plaintiff has visited the property which forms the basis of this lawsuit and plans to return

the property to avail herself of the goods and services offered to the public at the property.

13.     There are numerous architectural barriers present at the Felch Street Plaza that prevent

and/or restrict access by Plaintiff, in that several features, elements, and spaces of the Felch

Street Plaza are not accessible to or usable by Plaintiff, as specified in 28 C.F.R 36.406 and the

Standards for Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the Standards”).

14.     Elements and spaces to which there are barriers to access at the Felch Street Plaza

include, but are not necessarily limited to:

        a.      There are curb ramps at the facility that contain side flares with excessive slopes,

creating a dangerous condition for an individual in a wheelchair.

        b.      There are designated accessible parking spaces that do not have any access aisles

for an individual in a wheelchair to utilize.

        c.      There are designated accessible parking spaces that have access aisles that are too

narrow for an individual in a wheelchair to utilize.

        d.      The access aisles from the designated accessible parking spaces do not lead to an

accessible route, causing an individual in a wheelchair to access the property by traversing lanes

of traffic.




                                                   3
      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.4 Page 4 of 8



15.    The discriminatory violations described in paragraph 14 of this Complaint were

personally encountered by Plaintiff. The Plaintiff, and all other mobility-impaired individuals

similarly situated have been denied access to, and have been denied the benefits of, services,

programs and activities of the Defendants’ buildings and facilities, and have otherwise been

discriminated against and damaged by the Defendants because of the Defendants’ ADA

violations, as set forth above.

16.    The Plaintiff, and all others similarly situated, will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein. The

Plaintiff, and all other individuals similarly situated, have been denied access to, and have been

denied the benefits of services, programs and activities of the Defendants’ buildings and its

facilities, the opportunity to use such elements, and have otherwise been discriminated against

and damaged by the Defendants because of the Defendants’ ADA violations, as set forth above.

17.    Plaintiff has standing to sue for every barrier to access for the mobility-impaired and

grasping-impaired that exists on the subject premises. Guadalupe Betancourt has standing to

require that all barriers to access on the property for the mobility-impaired and grasping-

impaired are corrected, not merely only those Guadalupe Betancourt personally encountered.

18.    Defendants' failure to remove the architectural barriers identified in paragraph fourteen

(14) constitutes a pattern or practice of discrimination within the meaning of 42 U.S.C. 12188

(b)(1)(B)(i) and 28 C.F.R. 36.503 (a).

19.    It would be readily achievable for the Defendant to remove the architectural barriers

identified above.




                                                 4
      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.5 Page 5 of 8



20.    Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

which was designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities as defined by the ADA.

21.    The Defendant has discriminated against Plaintiff by denying him access to, and full and

equal enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

of the buildings, as prohibited by 42 U.S.C. § 12182 et seq. and 28 CFR 36.302 et seq

22.    Defendant continues to discriminate against the Plaintiff, and all those similarly situated,

by failing to make reasonable modifications in policies, practices or procedures, when such

modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or accommodations to individuals with disabilities.

23.    Guadalupe Betancourt has a realistic, credible, existing and continuing threat of

discrimination from the Defendants’ non-compliance with the ADA with respect to this property

as described, but not necessarily limited to, the allegations in paragraph 14 of this Complaint.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violations of the ADA by the Defendants.



                                                  5
      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.6 Page 6 of 8



24.     Plaintiff is aware that it will be a futile gesture to re-visit the property until it becomes

compliant with the ADA, unless she is willing to suffer further discrimination.

25.     Plaintiff is without an adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

26.     Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.

27.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to make the property readily

accessible and useable to the Plaintiff and all other persons with disabilities as defined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA.

                                              COUNT II

                                  VIOLATION OF THE PDCRA

28.     Plaintiff realleges paragraphs one (1) through twenty-seven (27) of this Complaint and

incorporates them here as if set forth in full.

29.     The Defendant has discriminated against Plaintiff by denying her the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of a

place of public accommodation because of a disability, as prohibited by MCL 37.1302.

30.     Plaintiff has desired and attempted to enjoy the goods and services at the Felch Street

Plaza as a customer. She has been prevented from doing so due to the existing architectural



                                                   6
      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.7 Page 7 of 8



barriers at the property. As a result, she has been distressed and inconvenienced thereby, and is

entitled to monetary damages for her injuries, as provided for in MCL 37.1606.

31.    As a result of being denied full access to the property, Plaintiff has suffered, and will

continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and

other consequential and incidental damages.

                                     PRAYER FOR RELIEF

32.    Because Defendant has engaged in the acts and practices described above, Defendant has

violated the law as alleged in this Complaint and unless restrained by this Honorable Court,

Defendant will continue to violate the Constitution and laws of the United States of America, and

the State of Michigan, and will cause injury, loss and damage to the Plaintiff, and all others so

similarly situated.

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      Declare that Defendant has violated title III of the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, and the Michigan Persons With Disabilities

Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq.

               i.      by failing to bring the Felch Street Plaza into compliance with the

               Standards where it is readily achievable to do so; and

               ii.     by failing to take other readily achievable measures to remove

               architectural barriers to access when it is not readily achievable to comply fully

               with the Standards.




                                                 7
      Case 1:12-cv-00638-GJQ ECF No. 1 filed 06/15/12 PageID.8 Page 8 of 8



       B.     Order Defendant:

              i.      to make all readily achievable alterations to the facility; or to make such

              facility readily accessible to and usable by individuals with disabilities to the

              extent required by the ADA;

              ii.     to make reasonable modifications in policies, practices or procedures,

              when such modifications are necessary to afford all offered goods, services,

              facilities, privileges, advantages or accommodations to individuals with

              disabilities

       C.     Award damages to Guadalupe Betancourt who has been aggrieved and injured by

the illegal acts of discrimination committed by Defendant;

       D.     Award attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205 and MCL 37.1606.

       E.     Order such other appropriate relief as the interests of justice may require.

                                             Respectfully Submitted,



                                             By: /s/ Pete M. Monismith_________
                                             Pete M. Monismith, Esq.
                                             3945 Forbes Ave., #175
                                             Pittsburgh, PA 15213
                                             Ph: 724-610-1881
                                             Fax: 412-258-1309
                                             Pete@monismithlaw.com
                                             PA-84746




                                                8
